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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                            WICHITA FALLS DIVISION


UNITED STATES OF AMERICA,
             Plaintiff,

v.                                             CIVIL ACTION NO. 7:25-CV-00055-O

STATE OF TEXAS,
             Defendant.


            DEFENDANT STATE OF TEXAS’S OPPOSITION TO
      STUDENTS FOR AFFORDABLE TUITION’S MOTION TO INTERVENE

      Defendant, the State of Texas, hereby responds to Students for Affordable Tuition’s

Opposed Motion to Intervene. ECF No. 9.




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                                            Introduction

         In early June, the United States sued the State of Texas, claiming that a Texas statute

 allowing certain residents to qualify for in-state tuition at state institutions of higher education was

 preempted by federal law. See generally ECF No. 1. Specifically, 8 U.S.C. § 1623(a) prohibits aliens

 who are “not lawfully present” from receiving certain postsecondary education benefits on the

 basis of state residence, including in-state tuition, unless all United States citizens and nationals

 are eligible for such benefits without regard to residency. Texas law, however, leaves the door open

 for aliens who are not legally present to qualify for reduced tuition at public state colleges and

 universities. See Tex. Educ. Code § 54.052(a)(3). And it expressly denies this reduced tuition

 benefit to nonresident citizens from other states. Id. § 54.051(m). After due consideration, Texas

 agreed with the United States’ position and entered into a consent judgment, ECF No. 8, holding

 that those sections of the Education Code were preempted “as applied to aliens who are not

 lawfully present in the United States[.]”ECF No. 1 at 2. Now, at the eleventh hour, and after final

 judgment has been rendered, a heretofore unknown group purporting to represent DACA

 recipients, Students for Affordable Tuition (SAT), seeks to intervene for the purpose of appeal.

 For the reasons set forth below, the Court should deny SAT’s futile attempt to intervene and

 permit the consent judgment to stand.
                                          Legal Standard

I.   Standing

         At the outset, a party that would invoke a federal court’s jurisdiction on appeal must

 demonstrate standing. Va. House of Delegates v. Bethune-Hill, 587 U.S. 658, 663 (2019). This

 requirement is often a formality in the typical instance where either a plaintiff or defendant in the case

 files an appeal. But when an intervenor is the sole party seeking to invoke the jurisdiction of an appellate

 court, that intervenor must independently establish standing to proceed. Id.

         “Article III of the Constitution limits federal courts’ jurisdiction to certain ‘Cases’ and

 ‘Controversies.’” Tenth St. Residential Ass’n v. City of Dallas, Tex., 968 F.3d 492, 499 (5th Cir. 2020)



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  (citing Clapper v. Amnesty Int’l USA, 568 U.S. 398, 408 (2013)). Standing is “an essential and

  unchanging part of the case-or-controversy requirement of Article III.” Lujan v. Defenders of

  Wildlife, 504 U.S. 555, 560 (1992). And to demonstrate standing, and thus invoke the jurisdiction of a

  federal court, a party must satisfy the following three elements:

          First, the plaintiff must have suffered an “injury in fact”—an invasion of a legally
          protected interest which is (a) concrete and particularized; and (b) “actual or
          imminent, not conjectural or hypothetical.”

          Second, there must be a causal connection between the injury and the conduct
          complained of—the injury has to be “fairly ... trace[able] to the challenged action of
          the defendant, and not ... th[e] result [of] the independent action of some third party
          not before the court.”

          Third, it must be “likely,” as opposed to merely “speculative,” that the injury will
          be “redressed by a favorable decision.”

  NAACP v. City of Kyle, Tex., 626 F.3d 233, 237 (5th Cir. 2010) (citing Lujan, 504 U.S. at 560–61)

  (cleaned up).

          An organization such as SAT “can establish the first standing element, injury-in-fact, under two

  theories: ‘associational standing’ or ‘organizational standing.’” Tenth St. Residential Ass’n, 968 F.3d at

  500 (citing OCA-Greater Houston v. Texas, 867 F.3d 604, 610 (5th Cir. 2017)). To have associational

  standing, an organization must establish, inter alia, that at least one member of its organization would

  otherwise have standing to sue individually. See Int’l Union, United Auto., Aerospace and Agr. Implement

  Workers of America, et al. v. Brock, 477 U.S. 274, 286 (1986) (“Having found that at least some members

  of the UAW would have had standing to bring this suit in their own right, we need pause only briefly to

  consider whether the second of Hunt’s preconditions for associational standing has been satisfied

  here.’) (emphasis added). Conversely, under a theory of organizational standing, the organizational

  party must meet “the same standing test that applies to individuals.” Tenth St. Residential Ass’n., 968

  F.3d at 500.

II.   Intervention

          To intervene as of right, a party must (1) make a timely motion, (2) have a direct interest in

  the action, (3) be situated such that disposition of the action would impede its ability to protect his


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 interests, and (4) not be adequately represented by existing parties. Brumfield v. Dodd, 749 F.3d

 339, 341 (5th Cir. 2014). Permissive intervention, on the other hand, is wholly discretionary, and a

 district court’s decision to grant or deny permissive intervention will not be disturbed absent a

 “clear abuse of discretion.” Cajun Elec. Power Co-op., Inc. v. Gulf States Utils., 940 F.2d 117, 121

 (5th Cir. 1991).

                                Argument and Authorities

        The Court should deny SAT’s motion to intervene for three reasons. First, SAT lacks

 associational standing because none of the members it identifies has suffered an injury. Second, SAT

 lacks organizational standing because it has not suffered any cognizable injury—it only alleges that its

 members will suffer harm. And third, SAT fails to meet the standard for either intervention as of right

 or permissive intervention.

I.   SAT lacks associational standing to intervene for purposes of appeal.

        SAT asserts that it seeks intervention solely for purposes of appeal. ECF No. 10 at 6. But “to

 appeal a decision that the primary party does not challenge, an intervenor must independently

 demonstrate standing.” Va. House of Delegates, 587 U.S. at 663. As the party invoking federal

 jurisdiction, SAT bears the burden to demonstrate standing. Lujan, 504 U.S. at 561.

        SAT itself recognizes that Texas is not only “very unlikely to seek an appeal,” but in fact “may

 be precluded from an appeal” because it has “freely consented to the entry of a final judgment.” ECF

 No. 10 at 12. Consequently, SAT—along with any other prospective intervenors seeking to

 appeal—must demonstrate appellate standing. For an organization to have associational

 standing—i.e., standing to represent its members—it must show, inter alia, that at least one of its

 members would have standing individually to appeal and adverse decision. See Brock, 477 U.S. at

 286. An essential requirement of standing (and one that SAT wholly lacks) is that a party must

 have suffered an injury in fact that is concrete and particularized. Lujan, 504 U.S. at 560.

        To begin, the relief that the United States sought and that the Court ultimately granted revolves

 around whether an individual is “lawfully present” in the United States. ECF. No. 8 at 1. Indeed, under



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federal law, an individual not lawfully present in the country may not take advantage of state residency

to qualify for in-state tuition in states that do not extend that benefit to all citizens. 8 U.S.C. § 1623(a).

Aliens are lawfully present in the United States if they qualify for deferred action under the Preferred

Action for Childhood Arrivals program (DACA). 8 C.F.R. 236.21(c)(3). And while the Fifth Circuit

held that the provision of DACA granting the status of “lawful presence” was contrary to the

Immigration and Naturalization Act, Texas v. United States, 126 F.4th 392, 418 (5th Cir. 2025), it

nonetheless expressly continued a stay of relief that grants current DACA recipients lawful presence,

id. at 422. The practical result of the Fifth Circuit’s is that DACA recipients are presently considered

to be lawfully present in the United States. No party sought review of that determination in the en banc

Fifth Circuit or the Supreme Court, and the district court in that case has no power to lift that stay. Id.

        Herein lies SAT’s problem. In the brief in support of its motion to intervene, SAT states that

“[i]t is comprised of students without lawful immigration status who rely on paying reduced tuition rates

to afford their education.” ECF No. 10 at 4. But based on the facts set forth in SAT’s brief, this is

incorrect. SAT identifies three unnamed student members purportedly affected by this lawsuit, each of

whom is a DACA recipient. See ECF No. 10 at 4–5 (“For example, one of SAT’s members is a Deferred

Action for Childhood Arrivals (‘DACA’) recipient who is currently pursuing his Bachelor of Science

degree in biomedical science at the University of Texas Rio Grande Valley . . . Another SAT member is

a DACA recipient currently pursuing a Master of Science degree in clinical mental-health counseling at

the University of North Texas . . . A third SAT member is a DACA recipient currently pursuing a

Master of Education degree in higher education at the University of Houston.”).

        As each of these individuals is a DACA recipients, each has lawful presence within the United

States. And because all three individuals are lawfully present, they are not affected by the ultimate relief

that the Court granted in this case. They will continue, for the foreseeable future, to be entitled to

discounted in-state tuition at state universities and have thus suffered no cognizable injury. None of

those three individuals would have standing to invoke the jurisdiction of the appellate courts. Va. House

of Delegates, 587 U.S. at 663. And because they lack standing, so too does SAT.




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        That the Fifth Circuit continues to stay the district court’s injunction regarding a DACA

recipient’s lawful presence within the country is key. See Texas, 126 F.4th at 422. That stay, which

functionally allows DACA recipients “lawful presence,” id., cannot be lifted except by order of the Fifth

Circuit or the Supreme Court, and review by either of these courts is not on the horizon. Id. Any injuries

that SAT’s members might suffer are therefore speculative and dependent on the actions of third

parties. See Clapper, 568 U.S. at 414 & n.5 (holding the uncontrollable actions of independent third-

parties make it difficult or impossible to trace plaintiffs’ injuries to defendants’ conduct); see also id. at

417 n.7 (“To the extent that [plaintiffs’ predictions about how third parties will react] are based on

anything other than conjecture . . . they do not establish injury that is fairly traceable [to the challenged

action].”). Given the speculative nature of the DACA case’s ultimate resolution, SAT’s three identified

members have suffered no injury—and also face no immediate future injury—and thus have no standing

to initiate an appeal of the Court’s final judgment. See Clapper, 568 U.S. at 398 (rejecting standing based

on “fears of hypothetical future harm that is not certainly impending”). And because SAT depends on

those members for its own standing, its requested intervention would be futile.

        Even assuming, arguendo, that SAT’s proffered members were not lawfully present in the

country, they have failed to make an adequate showing that those members have standing. SAT has the

burden to establish standing. Lujan, 504 U.S. at 561. “When challenged by a court (or by an opposing

party) concerned about standing, the party invoking the court’s jurisdiction cannot simply allege a

nonobvious harm, without more.” Wittman v. Personhuballah, 578 U.S. 539, 545–46 (2016). SAT’s

motion contains no affidavit or any other evidence that would tend to show that any of its members have

standing—it only has the vague allegations that three unnamed members are not “lawfully present” but

are DACA recipients. ECF No. 10 at 4–5. This conspicuous “lack of evidence” further warrants a denial

of SAT’s motion to intervene because it has not (and cannot now) show that its individual members

would have standing absent some sort of evidentiary showing such as an affidavit. Wittman, 578 U.S. at

545.




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II.   SAT lacks organizational standing because it does not have a legally protected interest in
      the outcome of the litigation.

          It is unclear whether SAT intends to rely on its own standing as an organization, as its

  briefing on this point is so sparse. To the extent SAT seeks to invoke organizational standing, that

  too falls short of providing a mechanism for SAT to intervene for the purposes of appeal. A party

  seeking to take advantage of organizational standing would have to show that the organization—in

  this case, SAT—has been injured. See Tenth St. Residential Ass’n, 968 F.3d at 500. It has not done so

  here and therefore lacks organizational standing.

          a. SAT does not allege that it has suffered any injury.

          The brief in support of SAT’s motion to intervene is rife with (legally incorrect) allegations

  about how its members would be injured. For example, SAT speaks to how individual members, all

  DACA recipients, would be deprived of in-state tuition and thus unable to afford to finish their

  education. See ECF No. 10 at 4–5. SAT further asserts that it “seeks to intervene to protect the interests

  of its members, comprised of students who could be directly and adversely affected by the elimination

  of reduced tuition benefits.” ECF No. 10 at 8. SAT goes on to discuss the alleged interest that its

  members have in defending the lawsuit, concluding that “members of SAT have a ‘real, concrete stake

  in the outcome of this litigation’ on the basis that they are ‘the intended beneficiaries of the program

  being challenged.’” ECF No. 10 at 11 (citing Teas. v. United States, 805 F.3d 653, 661 (5th Cir. 2015)).

          Tellingly, not once does SAT allege that it has suffered, or will suffer, any harm. The closest it

  comes is asserting its organizational “purpose of promoting, advocating for, and ensuring access to

  affordable higher education in Texas, including maintaining the state’s reduced tuition rates for certain

  students without lawful immigration status.” ECF No. 10 at 8. But SAT makes no allegation regarding

  how its purpose would be harmed by the decision here. Nor could it; SAT remains free to promote and

  advocate for its preferred policy outcomes to the exact same extent as before. As the party seeking to

  invoke the jurisdiction of the appellate court, SAT must show that it has standing, which in turn means

  that it must show that it has suffered some injury. Lujan, 504 U.S. at 561. But because it has asserted no

  injury on its own behalf, but rather only injuries on behalf of its members, any intervention to appeal on



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a theory of organizational standing fails.

        b. SAT likewise lacks standing to defend state law.

        SAT’s lack of injury is compounded by the fact that it has no standing to step in to defend

a state law. “A State ‘clearly has a legitimate interest in the continued enforceability of its own

statutes.’” Cameron v. EMW Women’s Surgical Center, P.S.C., 595 U.S. 267, 277 (2022) (quoting

Maine v. Taylor, 477 U.S. 131, 137 (1986)). “The concerns for state autonomy that deny private

individuals the right to compel a State to enforce its laws apply with even greater force to an

attempt by a private individual to compel a State to create and retain the legal framework within

which individual enforcement decisions are made.” Diamond v. Charles, 476 U.S. 54, 65 (1986).

This right is a “quintessential function[] of a State.” Id. (quoting Alfred L. Snapp & Son, Inc. v.

Puerto Rico ex rel. Barez, 458 U.S. 592, 601 (1982)).

        “Under Texas law, the Attorney General enjoys an exclusive right to represent state

agencies; other attorneys who may be permitted to assist the Attorney General are subordinate to

his authority.” Sierra Club v. City of San Antonio, 115 F.3d 311, 314 (5th Cir. 1997) (citing Hill v.

Texas Water Quality Bd., 568 S.W.2d 738, 741 (Tex. App.—Austin 1978, writ ref'd n.r.e.)). Indeed,

“only ‘the Attorney General or a county or district attorney may represent the State’ qua state.”

General Land Office v. Biden, 71 F.4th 264, 271 (5th Cir. 2023) (quoting Saldano v. Roach, 363 F.3d

545, 552 (5th Cir. 2004)); cf. Acuff v. United Papermakers & Paperworkers, AFL-CIO, 404 F.2d 169,

172 (5th Cir. 1968) (denying intervention because “the collective bargaining agent is the exclusive

representative of the unit,” so “cases such as this differ entirely from situations in which

intervention is ordinarily appropriate.”). For this reason, the Supreme Court has “never before

upheld the standing of a private party to defend the constitutionality of a state statute when state

officials have chosen not to.” Hollingsworth v. Perry, 570 U.S. 693, 715 (2013). In fact, the Court in

Hollingsworth explicitly rejected the notion that a private party may intervene to appeal a ruling

declaring a state law unconstitutional absent independent bases for standing—which is exactly what

SAT is trying to do here. Id.



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       Hollingsworth revolved around California’s Proposition 8, which was a ballot initiative that

amended California’s constitution to expressly define marriage as between a man and a woman. Id.

at 701. Two same-sex couples challenged the statute, and the relevant elected California officials

declined to defend the statute. Id. at 702. The district court subsequently allowed Prop. 8’s official

proponents to intervene to defend that law. Id. The plaintiffs ultimately prevailed at trial and Prop.

8 was declared unconstitutional. Id. The defendants chose not to appeal the decision; only the

intervenors sought appellate review. Id. The Supreme Court subsequently rejected the

intervenor’s claim of standing because its interest in vindicating “the constitutional validity of a

generally applicable California law” constituted the kind of “generalized grievance” that “is

insufficient to confer standing.” Id. at 706.

       Like Hollingsworth, SAT (along with other intervenors) are the only parties seeking to

defend a state law on appeal after the state has declined to do so. See ECF No. 10 at 9 (“Upon

learning of the Parties’ motion and the subsequent entry of judgment on June 4, 2025, SAT sought

expeditiously to intervene in this action for the purposes of pursuing an appeal.”). SAT’s proposed

answer walks through various defenses to the United States’ Complaint before requesting that

“the cause of action raised in the Complaint be dismissed with prejudice.” ECF 9-2 at 10. In other

words, SAT purports to have the ability to “defend the constitutionality of a state statute when

state officials have chosen not to.” Hollingsworth, 570 U.S. at 715. It claims, in effect, that it “may

assert that interest on the State’s behalf.” Id. at 708. But this is precisely what the Hollingsworth

Court rejected. Id. at 706. Like the intervenors in Hollingsworth, SAT’s “only interest in having

the District Court order reversed [is] to vindicate the constitutional validity of a generally

applicable [state] law.” Id. But that interest lies entirely with the State, and SAT is plainly not an

“agent[] of the State.” Id. at 713. SAT “answer[s] to no one; [it] decide[s] for [itself], with no

review, what arguments to make and how to make them . . . [it is] not elected at regular intervals—

or elected at all.” Id. The Supreme Court has made it clear that States, and States alone, have the

right to defend the constitutionality of state statutes. SAT may not therefore step into the shoes of

the Attorney General of Texas to assert some amorphous interest in the defense of the challenged


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   statutes. See id. And this Court, like the Hollingsworth Court, should “decline to” decide otherwise

   “for the first time here.” Id. at 715.

           As an organization, SAT’s asserted interests amount to nothing more than a legally

   impermissible value interest in the litigation. “Article III standing,” the Supreme Court has stated,

   “is not to be placed in the hands of ‘concerned bystanders,’ who will use it simply as a ‘vehicle for

   the vindication of value interests.’” Id. at 707 (internal citations and quotations omitted). Nor can

   a proposed intervenor “attempt to invoke [the judicially cognizable interest] of someone else” if

   they do not have an independent interest of their own. Id. at 708. This consideration also implicates

   the requirements for mandatory intervention, as “an intervenor fails to show a sufficient interest

   when he seeks to intervene solely for ideological, economic, or precedential reasons.” Texas v.

   United States, 805 F.3d 653, 657 (5th Cir. 2015) (holding that such interests are not “legally

   protectable”). Yet this is precisely the type of interest that SAT would assert under a theory of

   organizational standing. See ECF Nos. 9 at 1, 10 at 8. Accordingly, SAT lacks organizational

   standing to appeal this court’s order and, as discussed infra, fails to meet the requirements for

   intervention as of right.

III.   SAT’s attempt at intervention is futile.

           Courts have, time and again, upheld a denial of intervention on the grounds of legal futility.

   See, e.g., United States v. Glens Falls Newspapers, Inc., 160 F.3d 853, 856 (2d Cir.1998) (upholding

   district court’s denial of motion to intervene on futility grounds); Williams & Humbert, Ltd. v. W.

   & H. Trade Marks, Ltd., 840 F.2d 72, 74 (D.C. Cir. 1988) (finding that Rule 24(a)(2)’s requirement

   that intervenor have legally cognizable interest depends in part on whether intervenor has stated

   legally sufficient claim). Here, SAT’s attempt to intervene is futile for two reasons.

           First, as discussed above, SAT would lack standing to bring an appeal, thus rendering any

   intervention entirely without effect. Second, and just as important, the challenged provisions of the

   Education Code are expressly preempted, leaving no room for interpretation to the contrary. The

   federal statute upon which the United States based its lawsuit is unambiguous:



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         [A]n alien who is not lawfully present in the United States shall not be eligible on
         the basis of residence within a State . . . for any postsecondary education benefit
         unless a citizen or national of the United States is eligible for such a benefit . . .
         without regard to whether the citizen or national is such a resident.

  8 U.S.C. § 1623(a). And so to the extent Texas law permits an alien who is not “lawfully

  present” within the country to receive discounted in-state tuition, federal law governs, thereby

  superseding and preempting Texas law. Any argument to the contrary—by SAT or any other

  prospective intervenor—would be fundamentally flawed, constituting instead a thinly veiled

  attempt to pursue policy preferences through the court system. Preemption here is obvious, and

  thus intervention opposing it would be fruitless and futile. The Court should therefore deny

  SAT’s motion on these grounds as well.

IV.   SAT does not meet the requirements for intervention.

         Were the Court to determine that SAT has standing, it would inevitably encounter a myriad

  of other issues with intervention. Specifically, SAT fails to satisfy the express requirements of Rule

  24(a)(2) of the Federal Rules of Civil Procedure, which governs intervention of right. There are

  four requirements:

         (1) The application must be timely; (2) the applicant must have an interest relating
         to the property or transaction that is the subject of the action; (3) the applicant must
         be so situated that the disposition of the action may, as a practical matter, impair or
         impede its ability to protect its interest; and (4) the applicant's interest must be
         inadequately represented by the existing parties to the suit.

  Brumfield, 749 F.3d at 341. While Rule 24 is to be “liberally construed” and indulges a flexible

  inquiry, see Wal-Mart Stores, Inc. v. Tex. Alcoholic Beverage Comm’n, 834 F.3d 562, 565 (5th Cir.

  2016), the movant bears the burden of establishing it meets all four requirements. Rotstain v.
  Mendez, 986 F.3d 931, 937 (5th Cir. 2021). “Failure to satisfy one requirement precludes intervention

  of right.” Haspel & Davis Milling & Planting Co. v. Bd. of Levee Comm’rs of the Orleans Levee Dist.,

  493 F.3d 570, 578 (5th Cir. 2007).




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       a. SAT’s motion to intervene is untimely because it would prejudice Texas.

       Courts assess timeliness by considering the following four factors: “(1) the length of time

the movant waited to file, (2) the prejudice to the existing parties from any delay, (3) the prejudice

to the movant if the intervention is denied, and (4) any unusual circumstances.” United States ex

rel. Hernandez v. Team Fin., L.L.C., 80 F.4th 571, 578 (5th Cir. 2023). Of these, prejudice to

existing parties is the “most important consideration.” McDonald v. E.J. Lavino Co., 430 F.2d

1065, 1073 (5th Cir. 1970). That factor weighs heavily against SAT.

       The Fifth Circuit has previously noted that ‘intervention attempts after final judgments are

ordinarily looked upon with a jaundiced eye [as they] have a strong tendency to prejudice existing

parties to the litigation or to interfere substantially with the orderly process of the court.” United

States v. United States Steel Corp., 548 F.2d 1232, 1235 (5th Cir. 1977). Thus, in determining

whether a motion to intervene is timely, courts consider the prejudice that existing parties would

suffer if intervention were permitted, as well as the prejudice that proposed intervenors would

suffer if denied. Rotstain, 986 F.3d at 937 (citing Stallworth v. Monsanto Co., 558 F.2d 257, 264-66

(5th Cir. 2015)).

       The potential for prejudice against the State here is clear. Absent some other tangible

interest, the Attorney General has the exclusive right to determine whether judgments on Texas’s

laws are appealed. Hollingworth, 570 U.S. at 705–06 (noting that the District Court’s order had no

effect on the intervenors, and that “[t]heir only interest in having the District Court order reversed

was to vindicate the constitutional validity of a generally applicable California law”). Here, SAT

cannot override any decision of Texas to not appeal this Court’s judgment. And granting

intervention now would do just that by allowing SAT to act on the State’s behalf in conflict with

the Texas’s rights as a sovereign. This clear risk of prejudice renders SAT’s Motion to Intervene

untimely on account of the most pressing timeliness factor.

       Moreover, under the third timeliness factor, SAT would not suffer prejudice if its Motion

to Intervene were denied. As previously discussed, SAT itself has shown no legally protectable

interest in defending the relevant provisions of the Texas Education Code; that interest belongs to


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the State—acting through the Attorney General—alone. See id. Thus, SAT would not be

prejudiced if denied intervention for appeal.

       Put simply, Texas has a significant interest in denying intervention—namely that it has the

sole right to defend its own statutes. It would be prejudiced if SAT, which possesses no legally

protectable interest in the matter, were permitted to swoop in at the eleventh hour to defend the

statutes. Given the weight of these two factors in the Court’s timeliness analysis, the Court should

decline intervention as of right.

       b. SAT lacks on independent interest in this action.

       Rule 24(a)(2)’s second prong requires that intervenors “must have an interest relating to

the property or transaction which is the subject of the action . . . .” Texas, 805 F.3d at 357. SAT

fails to satisfy Rule 24(a)(2)’s second prong for the same reason it lacks Article III standing: it has

failed to establish it has a “direct, substantial, legally protectable interest in the proceedings.”

Texas, 805 F.3d at 657. The only legally protectable interest at stake here is the ability to defend

the constitutionality of a state statute. And because SAT has no right to mount such a defense, it

may not intervene as of right.

       When the constitutionality of a state statute is put to the test, no private party has an

interest—much less a legally protectable interest—in defending that statute based on policy

preferences alone. That interest belongs solely to the State. Since SAT’s proffered members will

not be affected by the Court’s judgment, all that remains is SAT’s wish to intervene based on its

own advocacy-related interest in defending the constitutionality of the state law in question. Such

an intervention is not proper.

       As discussed supra, SAT as an organization has suffered no concrete injury and thus has no

legally protected interest in the outcome of the litigation. Neither do SAT’s members, all of whom

appear to be DACA recipients. ECF No. 10 at 4–5. Neither would endure hardship, financial or

otherwise, from the relief issued by this Court. Thus, they lack an identifiable interest for which

the Court must allow SAT to intervene as of right.



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       c. The State, as the parens patriae, adequately represents SAT’s interests.

       Even assuming arguendo that SAT has a legally cognizable interest, it must show that its

interest is “inadequately represented by the existing parties to the suit.” New Orleans Pub. Serv.,

Inc. v. United Gas Pipe Line Co. (NOPSI), 732 F.2d 452, 463 (5th Cir. 1984) (en banc) (internal

quotation marks omitted). A prospective intervenor’s failure to meet this requirement is fatal to

intervention as of right. See Edwards v. City of Houston, 78 F.3d 983, 999 (5th Cir.1996) (en banc ).

“[T]he constitutional validity of a generally applicable” state law is not a sufficiently independent

interest. Hollingsworth, 570 U.S. at 694.

       Adequate representation is presumed when either (1) “the would-be intervenor has the

same ultimate objective as a party to the lawsuit”; or (2) “the putative representative is a

governmental body or officer charged by law with representing the interests of the [intervenor].”

Texas, 805 F.3d at 661 (citation and quotations omitted). The Attorney General of Texas

represents the people of Texas and any rights they possess. See Ingebretsen v. Jackson Pub. Sch.

Dist., 88 F.3d 274, 280–81 (5th Cir. 1996) (“the Attorney General, in defending that statute, can

assert the rights of all Mississippians affected by the law, including the Free Exercise rights of the

Proposed Intervenors” so “[t]he Attorney General undoubtedly affords the Proposed Intervenors’

interests adequate representation.”). “To defend its practical interests, the State may choose to

mount a legal defense of the named official defendants and speak with a ‘single voice,’ often

through an attorney general.” Berger v. N. Carolina State Conf. of the NAACP, 597 U.S. 179, 184

(2022). Here, the State of Texas has done that through the Attorney General of Texas.

       The Supreme Court has held that when a would-be intervenor’s “interest falls squarely

within the category of interests with respect to which a state must be deemed to represent all of its

citizens,” the State represents that interest “as parens patriae . . . on behalf of its citizens.” South

Carolina v. North Carolina, 558 U.S. 256, 275 (2010). A proposed intervenor must “show a

compelling interest ‘in his own right,’ distinct from the collective interest of ‘all other citizens and

creatures of the state,’ whose interests the State presumptively represents in matters of sovereign




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policy.” Id. (quoting New Jersey v. New York, 345 U.S. 369, 373 (1953)). Absent a unique interest

that the State does not already protect in its sovereign capacity, SAT’s Motion to Intervene fails.

       Here, SAT fails to show that it has an interest “different from that of the government.” Id.

(cleaned up). As the Supreme Court noted in Cameron, “[a] State ‘clearly has a legitimate interest

in the continued enforceability of its own statutes.’” 595 U.S. at 277 (quoting Maine v. Taylor, 477

U.S. 131, 137 (1986)). After all, the relevant state law provides the interest which SAT seeks to

defend. SAT’s interests are presumptively represented under the State’s interest in enforcing its

own statutes. Texas v. United States, 805 F.3d 653, 661 (5th Cir. 2015). Assuming that it cannot

represent its members’ cognizable interests, because they have not been harmed, SAT does not

establish the requisite independent interest. Both Texas and the SAT have “the same ultimate

objective”: the protection of rights provided under state law. Texas, 805 F.3d at 661.

       At no point does SAT describe any interest that the State does not represent as parens

patriae. At most, SAT presents a disagreement on the outcome of the case. But, as noted above,

“an intervenor fails to show a sufficient interest when he seeks to intervene solely for ideological,

economic, or precedential reasons.” Id. at 657. It is not enough “that would-be intervenor merely

prefers one outcome to the other.” Id. SAT’s entire motion rests on its disagreement with the result

in this case. The State, they argue, “is also very unlikely to seek an appeal.” ECF No. 10 at 16.

SAT “seeks intervention as a matter of right . . . for purposes of appeal.” Id. at 5. That is, SAT is

unhappy with the outcome that the State, acting as parens patriae, obtained, and it seeks to

challenge that outcome. This preference for a different outcome is insufficient ground for

intervention, let alone for superseding the State’s interest in defending its own statutes.

       SAT objects that the Attorney General of Texas has evaluated the merits of the challenge

by the United States and elected to settle it, and indeed may not appeal. But that is a disagreement

about litigation tactics and the exercise of the authority the State of Texas has placed in the hands

of the Attorney General. And the fact that this lawsuit was settled the same day it was filed is not

unusual. See, e.g., United States v. Allegheny-Ludlum Indus., Inc., 517 F.2d 826, 834 (5th Cir. 1975)

(affirming denial of intervention and upholding consent decree where “[s]imultaneously with the


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 filing of the complaint, the parties announced to the court that a tentative nationwide settlement

 had been reached,” “multilaterally reduced their agreement to the form of two extensive written

 consent decrees,” and the district court “signed and entered the documents later that same day”).

        In Saldano v. Roach, 363 F.3d 545 (5th Cir. 2004), the court faced arguments that “the

 Attorney General’s representation of the State’s interest is inadequate because the Attorney

 General aligned himself with [the opposing party] and joined [him] in urging the district court to

 vacate [the opposing party’s] sentence and because the Attorney General did not appeal the district

 court’s order granting habeas relief to [him].” Id. at 553. But because “the Attorney General has

 discretion to confess error and to waive procedural default,” the court denied intervention because

 the “Attorney General is not an inadequate representative simply because he has taken these
 actions, especially when state law gives him the authority to do so.” Id. at 553–54; see also Acuff,

 404 F.2d 169 (decision not to take an appeal does not show inadequate representation). So too

 here, where the Attorney General of Texas has been given the authority by the State to handle

 litigation concerning state law and has exercised that authority.

        In the end, SAT is unable to provide a concrete interest that the State does not adequately

 protect apart from a generalized disagreement with the outcome of the case. The Court should

 thus deny its Motion to Intervene.

V.   SAT should be denied permissive intervention.

        SAT’s request for permissive intervention is governed by Rule 24(b), which allows the

 intervention of anyone who “has a claim or defense that shares with the main action a common

 question of law or fact.” Fed. R. Civ. P. 24(b)(1)(B). Permissive intervention is “wholly

 discretionary” and can be denied even if there is a common question of law or fact. NOPSI, 732

 F.2d at 470–71. Rule 24(b) provides that courts must “consider whether the intervention will

 unduly delay or prejudice the adjudication of the original parties’ rights.” Fed. R. Civ. P. 24(b)(3).

 In exercising their discretion, moreover, district courts consider whether the proposed intervenor

 will “significantly contribute to full development of the underlying factual issues in the suit.”



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NOPSI, 732 F.2d at 472 (citations and quotations omitted). District court decisions on Rule 24(b)

motions receive an “exceedingly deferential” standard of review. Ingebretsen, 88 F.3d at 281.

Absent a “clear abuse of discretion,” the district court’s ruling will stand. Cajun Elec. Power Coop.,

940 F.2d at 121. Reflecting this deferential standard, the Fifth Circuit has “never reversed a denial

of permissive intervention.” Ingebretsen, 88 F.3d at 281 (emphasis added) (citation and quotations

omitted).

       Here, it is well within the Court’s discretion to deny SAT permissible intervention. Under

the Fifth Circuit’s “clear abuse of discretion” standard, a trial court’s ruling on a motion for

permissive intervention will only be disturbed under the most “extraordinary circumstances.”

NOPSI, 732 F.2d at 471. The Fifth Circuit generally takes a two-step approach to determining

whether to permit intervention. First, the district court must determine whether the would-be

intervenor’s claims or defenses share questions of fact or law with the main action. And second,

the court must exercise its discretion to determine “whether the intervention will unduly delay or

prejudice the adjudication of the original parties’ rights.” Fed. R. Civ. P. 24(b)(3). Whether SAT’s

defenses share questions of fact or law with the original action here is not contested. But

intervention would prejudice Texas’s exclusive right to defend of the state law at issue.

       Here, the court would be well within its discretion in denying SAT’s permissive

intervention because, as previously stated, private parties do not have standing to defend state laws

that the States themselves choose not to defend. See Hollingsworth, 570 U.S. at 715. Importantly,

the absence of standing to defend the state law here precludes permissive intervention all the same

as with intervention of right—i.e., standing is required for both. Thus, because SAT lacks standing

to defend the law in this case, the Court should deny permissive intervention.

       Moreover, Hollingsworth illustrates that intervention by SAT here would be prejudicial to

Texas’s rights, which this Court must consider. See Rule 24(b)(3). Permitting SAT to intervene

here would disturb Texas’s ability to decide the disposition of its own laws, which, again, the

Supreme Court has interpreted to be an exclusive right of the State. See Hollingsworth, 570 U.S. at




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715. Because intervention by SAT here would interfere with Texas’s ability to exercise this right,

the Court should deny SAT’s Motion to Intervene in accordance with Rule 24(b)(3).

                                         Conclusion

       For the reasons set forth above, the State of Texas respectfully requests that the Court deny

SAT’s Motion to Intervene.




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Dated: July 2, 2025                                 Respectfully submitted,

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                                 Certificate of Service

       Pursuant to Federal Rule of Civil Procedure 5(a), I hereby certify that on July 2, 2025, a
true and correct copy of the above and foregoing document was filed and served electronically via
CM/ECF.

                                                      /s/ Ryan D. Walters
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